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                   IN THE UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF HAWAII

 UNITED STATES OF AMERICA,     )           CR. NO. 06-00594-SOM-4
                               )
           Plaintiff,          )           ORDER GRANTING DEFENDANT
                               )           CHRISTOPHER NIU’S MOTION FOR
                               )           COMPASSIONATE RELEASE
                               )
      vs.                      )
                               )
 CHRISTOPHER NIU,              )
                               )
           Defendant.          )
                               )
 _____________________________ )

               ORDER GRANTING DEFENDANT CHRISTOPHER NIU’S
                    MOTION FOR COMPASSIONATE RELEASE

 I.          INTRODUCTION.

             In January 2008, this court sentenced Defendant

 Christopher Niu to 225 months of imprisonment and five years of

 supervised release.      Niu had entered a guilty plea to one count

 of conspiring to distribute and possess with intent to distribute

 50 grams or more of methamphetamine, in violation of 21 U.S.C.

 §§ 841(a)(1), 841(b)(1)(A), and 846.        See Judgment in a Criminal

 Case, ECF No. 202.      Niu was responsible for 3.4942 kilograms of

 actual methamphetamine.      See Pretrial Investigation Report at 6

 ECF No. 203; ECF No. 199 (adopting Pretrial Investigation

 Report); Sentencing Transcript at 9, ECF No. 275-1, PageID

 # 1258; Memorandum of Plea Agreement, ECF No. 167, PageID # 500.

             Niu has served a little more than 13.5 years of his

 18.75-year sentence.      See ECF No. 269-7.     Assuming good time

 credit, his projected release date is May 17, 2022.              Niu is
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 currently incarcerated at FCI Lompoc, in Lompoc, California.              See

 https://www.bop.gov/inmateloc/ (input Register Number 90229-111)

 (last visited October 19, 2020).          FCI Lompoc houses 954 inmates.

 See https://www.bop.gov/locations/institutions/lof/ (last visited

 October 19, 2020).

             As of the morning of October 19, 2020, FCI Lompoc has

 no inmate COVID-19 cases and has 3 active staff COVID-19 cases.

 FCI Lompoc previously had a large COVID-19 problem.              This is seen

 in the number of those who have “recovered” from COVID-19 (734

 inmates and 16 staff members).        Two inmates died from COVID-19.

 See https://www.bop.gov/coronavirus/index.jsp (last visited

 October 19, 2020).

             Niu is 45 years old and reports heart disease (atrial

 fibrillation and secondary cardiomyopathy), is morbidly obese,

 and suffers from sleep apnea, hypertension, unspecified asthma,

 kidney disease, and gout.       These conditions are reflected in the

 sealed medical records submitted to this court.          See ECF No. 272,

 PageID #s 1022-23, 1027, 1033, 1055.

             On May 5, 2020, Niu tested positive for SARS-CoV-2, the

 virus that causes Covid-19.       Id., PageID # 1215;

 https://www.cdc.gov/coronavirus/2019-ncov/hcp/testing-overview.ht

 ml (indicating that SARS-CoV-2 is the virus that causes Covid-19)

 (last visited October 19, 2020).          Niu says that he exhibited no

 symptoms.    See ECF No. 269, PageID #978.


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 II.         ANALYSIS.

             Niu’s compassionate release request is governed by 18

 U.S.C. § 3582(c)(1)(A), which provides:

             [T]he court . . . upon motion of the
             defendant after the defendant has fully
             exhausted all administrative rights to appeal
             a failure of the Bureau of Prisons to bring a
             motion on the defendant’s behalf or the lapse
             of 30 days from the receipt of such a request
             by the warden of the defendant’s facility,
             whichever is earlier, may reduce the term of
             imprisonment (and may impose a term of
             probation or supervised release with or
             without conditions that does not exceed the
             unserved portion of the original term of
             imprisonment), after considering the factors
             set forth in section 3553(a) to the extent
             that they are applicable, if it finds that--

             (i) extraordinary and compelling reasons
             warrant such a reduction . . . .

             and that such a reduction is consistent with
             applicable policy statements issued by the
             Sentencing Commission.

 In other words, for the court to exercise its authority under

 § 3582(c)(1)(A), it must (1) find that the defendant exhausted

 his administrative remedies or that 30 days have passed since he

 filed an administrative compassionate relief request; (2) also

 find, after considering the factors set forth in section 3553(a),

 that extraordinary and compelling reasons warrant a sentence

 reduction; and (3) find that such a reduction is consistent with

 the Sentencing Commission’s policy statements.          United States v.

 Scher, 2020 WL 3086234, at *2 (D. Haw. June 10, 2020).



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             A.    Niu Has Satisfied the Exhaustion Requirement of 18
                   U.S.C. § 3582(c)(1)(A).

             Niu submitted an administrative compassionate release

 request to the warden of his prison on June 25, 2020.            On July

 24, 2020, the warden denied his request.         See ECF No. 269-8,

 PageID #s 1006.     The Government concedes that Niu has satisfied

 the exhaustion requirement.       See ECF No. 275, PageID # 1241

 (“United States believes that Defendant has exhausted his BOP

 administrative remedies.”).       Accordingly, this court finds that

 Niu fulfilled the exhaustion requirement of § 3582(c)(1)(A).

             B.    Niu Has Demonstrated That Extraordinary and
                   Compelling Circumstances Justify His Early
                   Release.

             This court turns to § 3582(c)(1)(A)’s second

 requirement: whether extraordinary and compelling reasons warrant

 a sentence reduction.      In orders addressing compassionate release

 motions in other cases, this court has expressly recognized that

 it possesses considerable discretion in determining whether a

 particular defendant has established the existence of

 extraordinary and compelling reasons that justify early release.

 This court has also stated that, in reading § 3582(c)(1)(A) as

 providing for considerable judicial discretion, the court is well

 aware of the absence of an amended policy statement from the

 Sentencing Commission reflecting the discretion now given to

 courts under that statute.       See United States v. Scher, 2020 WL

 3086234, at *2 (D. Haw. June 10, 2020); United States v.

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 Cisneros, 2020 WL 3065103, at *2 (D. Haw. Jun. 9, 2020); United

 States v. Kamaka, 2020 WL 2820139, at *3 (D. Haw. May 29, 2020).

             According to the CDC, a person’s risk of a severe

 illness (one that may require hospitalization, intensive care, or

 a ventalator) from COVID-19 increases with age.          The CDC website

 explains that “people in their 50s are at higher risk for severe

 illness than people in their 40s.         Similarly, people in their 60s

 or 70s are, in general, at higher risk for severe illness than

 people in their 50s.      The greatest risk for severe illness from

 COVID-19 is among those aged 85 or older.”

 https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/

 older-adults.html (last visited October 19, 2020).

             The CDC currently lists the following conditions for

 people of any age as creating an increased risk of a severe

 illness from COVID-19:

             *Cancer

             *Chronic kidney disease

             *COPD (chronic obstructive pulmonary disease)

             *heart conditions, such as heart failure, coronary
             artery disease, or cardiomyopathies

             *Immunocompromised state (weakened immune system) from
             solid organ transplant

             *Obesity (body mass index [BMI] of 30 kg/m2 or higher
             but < 40 kg/m2)

             *Severe Obesity (BMI = 40 kg/m2)

             *Sickle cell disease

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             *Smoking

             *Type 2 diabetes mellitus

 https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/

 people-with-medical-conditions.html?CDC_AA_refVal=https%3A%2F%2Fw

 ww.cdc.gov%2Fcoronavirus%2F2019-ncov%2Fneed-extra-precautions%2Fg

 roups-at-higher-risk.html (last visited October 19, 2020).

             The CDC also lists the following as possibly increasing

 the risk of a severe illness from COVID-19:

             *Asthma (moderate-to-severe)

             *Cerebrovascular disease (affects blood vessels and
             blood supply to the brain)

             *Cystic fibrosis

             *Hypertension or high blood pressure

             *Immunocompromised state (weakened immune system) from
             blood or bone marrow transplant, immune deficiencies,
             HIV, use of corticosteroids, or use of other immune
             weakening medicines

             *Neurologic conditions, such as dementia

             *Liver disease

             *Overweight (BMI > 25 kg/m2, but < 30 kg/m2)

             *Pregnancy

             *Pulmonary fibrosis (having damaged or scarred lung
             tissues)

             *Thalassemia (a type of blood disorder)

             *Type 1 diabetes mellitus

 Id.


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             The CDC notes that “[t]he more underlying medical

 conditions someone has, the greater their risk is for severe

 illness from COVID-19.”      Id.   Niu’s medical conditions (heart

 disease, morbid obesity, sleep apnea, hypertension, unspecified

 asthma, kidney disease, and gout) place him at risk of a severe

 illness if he contracts COVID-19.         But that does not end the

 analysis.

             Niu is housed at FCI Lompoc.       There is no dispute that,

 early in the COVID-19 pandemic, the virus spread rapidly through

 FCI Lompoc, with 734 inmates of the current 954 inmates (76.9%)

 and 16 members of the staff having contracted and recovered from

 COVID-19.    Two inmates have died as a result of being infected.

 However, as of the morning of October 19, 2020, there are no

 active inmate cases at FCI Lompoc and only 3 positive staff tests

 (with those individuals most likely not going to work).            Whether

 that reduction is because many inmates now have immunity, because

 the facility is doing better at controlling the spread, or (of

 greater concern) because the facility is failing to detect new

 cases, this court at this point has a record that is far less

 serious than it would have been earlier.         The court nevertheless

 considers the serious history at FCI Lompoc and the risk that Niu

 might be exposed again to COVID-19 and might suffer serious

 complications.

             Because the parties offered conflicting accounts of the


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 prison’s present conditions, this court deferred ruling on this

 motion until it could review an expert report by Dr. Homer

 Venters summarizing the current state of the Lompoc complex

 COVID-19 outbreak in Torres v. Milusnic, No. CV. 20-4450 CBM

 (C.D. Cal.).     Dr. Venters filed that report on September 25,

 2020.     See ECF No. 278-1 (copy of report filed in this case).

 Dr. Venters called the COVID-19 outbreak at the Lompoc complex

 “one of the nation’s most overwhelming.”         Id., PageID # 1303.

              Venters paints a picture of inconsistency.          What he was

 told by BOP staff sometimes differed greatly from what he was

 told by inmates at FCI Lompoc.        For example, according to staff,

 no inmates had ongoing symptoms from COVID-19.          Id., PageID

 # 1306.    However, a quarter of the inmates Venters spoke with at

 FCI Lompoc said they were still experiencing such symptoms,

 including shortness of breath, painful breathing, headaches,

 ringing in the ears, and weakness.        Id., PageID # 1309.

              With respect to FCI Lompoc’s medical facilities, staff

 told Venters that the “sick call” response time was within one

 day.     Id., PageID # 1306.    The inmates disagreed with that

 statement, telling Venters that “sick call requests often go

 unanswered and when they are seen, it is most often more than a

 week after reporting a medical problem,” sometimes taking several

 weeks.     Id., PageID # 1309.

              While Venters saw that paper towels were available to


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 inmates and most of the staff wore masks, id., PageID # 1308-09,

 inmates told Venters that paper towels only became available

 right before his visit and staff use of masks was inconsistent,

 with less use during night and weekend shifts.          Id., PageID

 # 1310-11.

              Venters noted that the Lompoc complex took some

 positive steps to address COVID-19, such as screening staff well

 and maintaining a good hospital unit and screening database.

 Id., PageID # 1320.

              Reading the Venters report as a whole, and considering

 the lack of any active inmate cases of COVID-19 in FCI Lompoc

 right now, the court does not see Niu as being in immediate

 danger of contracting COVID-19.        Nevertheless, the possibility

 that he will be exposed to the virus in the future cannot be

 ignored.

              There is some evidence in the record that suggests that

 Niu’s risk of contracting COVID-19 might be mitigated.             Most

 notably, Niu tested positive for COVID-19 in May 2020 and does

 not claim to have had a severe case of the disease.              That raises

 two issues.

              First, if he did not develop complications during his

 May infection, it might be that he will not likely develop

 complications even if reinfected.         See Richard L. Tillett, et al,

 Genomic Evidence for Reinfection with SARS-CoV-2: a Case Study,


                                       9
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  Oct. 12, 2020,

  https://www.thelancet.com/journals/laninf/article/PIIS1473-3099(2

  0)30764-7/fulltext (noting that, in a reinfection of a Nevada

  man, his symptoms were more severe, but also recognizing that in

  other cases of possible reinfection, there was no difference in

  the severity of symptoms).      There is no way for this court to

  know whether Niu’s test was a false positive, but, if the test

  was accurate, it appears that Niu may have survived the virus

  without developing serious complications.

             Second, as noted above, this court cannot conclude that

  there is a substantial risk that Niu will be reinfected.            As Niu

  notes, there is anecdotal evidence that a handful of people have

  been reinfected with COVID-19.       See id. (discussing a Nevada man

  who appears to have been reinfected with COVID-19); Nate Wood,

  Nevada lab confirms 1st coronavirus reinfection in the US, ABC

  News, Aug. 28, 2020,

  https://abcnews.go.com/Health/nevada-lab-confirms-1st-coronavirus

  -reinfection-us/story?id=72691353 (same); Maura Hohman, COVID-19

  reinfection: Can you get coronavirus twice? What does reinfection

  mean?, Today, Sept. 10, 2020,

  https://www.today.com/health/covid-19-reinfection-can-you-get-cor

  onavirus-twice-what-does-t190764 (reporting that 4 people have

  been reinfected).     For example, there are reports that “[a] Hong

  Kong man who was initially infected with the coronavirus in March


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  and made a full recovery was reinfected more than four months

  later after a trip abroad.”      Adam Taylor and Ariana Eunjung Cha,

  First Coronavirus Reinfection Documented in Hong Kong,

  Researchers Say, Washington Post, August 24, 2020,

  https://www.washingtonpost.comhealth/2020/08/24/coronavirus-reinf

  ection-hong-kong/.     The CDC recognizes that it has “limited

  information about reinfections.”

  https://www.cdc.gov/coronavirus/2019-ncov/if-you-are-sick/quarant

  ine.html (last visited October 14, 2020).         It says research is

  ongoing and that “[t]here are no confirmed reports to date of a

  person being reinfected with COVID-19 within 3 months of initial

  infection,” indicating a 3-month period of possible immunity.

  See id.

              New research continues to be done on the immunity

  issue.    The Nevada patient described above had positive tests on

  April 18 and June 5, 2020.      This interval may indicate that any

  immunity is even shorter than 3 months, although possibly that

  patient had “a case of continuous infection entailing

  deactivation and reactivation.”       See Genomic Evidence for

  Reinfection with SARS-CoV-2: a Case Study, Oct. 12, 2020.            In any

  event, even if reinfection is possible, it appears to be

  extremely rare, as reinfections have been reported only a few

  times in the millions of cases to date.        See

  https://www.worldometers.info/coronavirus/?utm_campaign=homeAdveg


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  as1? (reporting more than 39 million cases worldwide) (last

  visited October 15, 2020);

  https://www.bbc.com/news/world-51235105 (reporting about 38.5

  million cases worldwide) (last visited October 15, 2020);

  https://abcnews.go.com/Health/nevada-lab-confirms-1st-coronavirus

  -reinfection-us/story?id=72691353.

             If individuals have at least some immunity against

  future infection, the strength and length of that immunity have

  not been established and may be brief.        See

  https://www.nytimes.com/2020/08/14/world/covid-19-coronavirus.htm

  l#link-10cd68e7 (last visited October 15, 2020); see also Apoorva

  Mandavilli, You May Have Antibodies After Coronavirus Infection.

  But Not for Long, N.Y. Times, June 18, 2020,

  https://www.nytimes.com/2020/06/18/health/coronavirus-antibodies.

  html (indicating that COVID-19 antibodies may only last 2 to 3

  months) (last visited October 15, 2020).

             However, other articles have indicated that individuals

  infected with COVID-19 are likely to remain immune even after

  their antibody count drops.      These articles indicate that the

  body might retain immunological memory that allows it to quickly

  produce new antibodies to respond to a second infection.

  Additionally, the remaining antibodies might even be sufficient

  to fight off COVID-19.      “A decline in antibodies is normal after

  a few weeks, and people are protected from the coronavirus in


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  other ways.”    Apoorva Mandavilli, Can You Get COVID-19 Again?

  It’s Very Unlikely, Experts Say, N.Y. Times, July 22, 2020,

  https://www.nytimes.com/2020/07/22/health/covid-antibodies-herd-i

  mmunity.html; see also Martin Finucane, Here’s What You Need To

  Know About Fading Coronavirus Antibodies, Boston Globe, July 23,

  2020,

  https://www.bostonglobe.com/2020/07/23/nation/heres-what-you-need

  -know-about-fading-coronavirus-antibodies/.

             This court is acutely aware that, at this point, no one

  completely understands how COVID-19 operates.         In fact, the CDC

  indicates that “more information is needed to know whether . . .

  immune protection will be observed for patients with COVID-19.”

  https://www.cdc.gov/coronavirus/2019-ncov/hcp/faq.html (click on

  “Transmission” then “Can people who recover from COVID-19 be re-

  infected with SARS-CoV-1?”) (last visited October 14, 2020).

  This court is in no position to make a definitive determination

  about Niu’s risk of reinfection.         What the court does know is

  that, as of today, there are no inmates in his facility with

  active cases of COVID-19.      Additionally, because 77.1% of the

  inmate population at FCI Lompoc has already had COVID-19, those

  inmates possibly now have some form of immunity to reinfection

  such that another large-scale COVID-19 outbreak at the facility

  may be less likely in the near future.         See Cynthia DeMarco,

  COVID-19 Herd Immunity: 7 questions, answered, July 17, 2020,


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  https://www.mdanderson.org/cancerwise/what-is-covid-19-coronaviru

  s-herd-immunity-when-will-we-achieve-herd-immunity.h00-159383523.

  html (“We probably need around 70% of the population to have

  developed antibodies in order to halt community transmission of

  COVID-19.”).

             Despite the uncertainties, in any evaluation of whether

  there are extraordinary and compelling reasons warranting a

  reduction in his sentence, this court can no more ignore the

  possibility of immunity than it can ignore the possibility of

  reinfection.

             In addition to examining Niu’s medical conditions and

  potential immunity to COVID-19 in the course of determining

  whether he has shown extraordinary and compelling reasons to

  reduce his sentence, the court, pursuant to § 3582(c)(1)(A),

  considers the factors set forth in § 3553(a).         That section

  requires the court to impose a “sentence sufficient, but not

  greater than necessary, to comply with the purposes set forth in

  paragraph (2)” below:

             (1) the nature and circumstances of the
             offense and the history and characteristics
             of the defendant;

             (2) the need for the sentence imposed--
                  (A) to reflect the seriousness of the
             offense, to promote respect for the law, and
             to provide just punishment for the offense;
                  (B) to afford adequate deterrence to
             criminal conduct;
                  (C) to protect the public from further
             crimes of the defendant; and

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                  (D) to provide the defendant with needed
             educational or vocational training, medical
             care, or other correctional treatment in the
             most effective manner;

             (3) the kinds of sentences available;

             (4) the kinds of sentence and the sentencing
             range established for--
                  (A) the applicable category of offense
             committed by the applicable category of
             defendant as set forth in the guidelines--
             (i) issued by the Sentencing Commission
             pursuant to section 994(a)(1) of title 28,
             United States Code, subject to any amendments
             made to such guidelines by act of Congress
             (regardless of whether such amendments have
             yet to be incorporated by the Sentencing
             Commission into amendments issued under
             section 994(p) of title 28); and
             (ii) that, except as provided in section
             3742(g), are in effect on the date the
             defendant is sentenced; or
                  (B) in the case of a violation of
             probation or supervised release, the
             applicable guidelines or policy statements
             issued by the Sentencing Commission pursuant
             to section 994(a)(3) of title 28, United
             States Code, taking into account any
             amendments made to such guidelines or policy
             statements by act of Congress (regardless of
             whether such amendments have yet to be
             incorporated by the Sentencing Commission
             into amendments issued under section 994(p)
             of title 28);

             (5) any pertinent policy statement--
                  (A) issued by the Sentencing Commission
             pursuant to section 994(a)(2) of title 28,
             United States Code, subject to any amendments
             made to such policy statement by act of
             Congress (regardless of whether such
             amendments have yet to be incorporated by the
             Sentencing Commission into amendments issued
             under section 994(p) of title 28); and
                  (B) that, except as provided in section
             3742(g), is in effect on the date the
             defendant is sentenced.

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             (6) the need to avoid unwarranted sentence
             disparities among defendants with similar
             records who have been found guilty of similar
             conduct; and

             (7) the need to provide restitution to any
             victims of the offense.

  18 U.S.C. § 3553(a).

             Niu has served a substantial amount of his sentence and

  is scheduled to be released on May 17, 2022.         His lengthy

  sentence was a reflection of his managerial and supervisory role

  in the distribution of multiple kilograms of actual

  methamphetamine.     While the crime itself did not involve

  violence, the Presentence Investigation Report indicates that Niu

  threatened to “take care of” one courier if she ever told law

  enforcement about his drug activities.        Niu also mentioned to his

  buyer that he would have the person who tipped off law

  enforcement about his drug activities “taken care of.”

             Niu’s criminal history began when he was a juvenile.

  He was adjudicated a delinquent and held by the California Youth

  Authority for roughly 8 years.       That adjudication related to a

  murder.   The court has little information about that matter, but

  notes that it appears to have occurred when Niu was 15 years old.

  See Transcript of [Sentencing] Proceeding, ECF No. 275-1, PageID

  # 1262.   In 2001, two years after his release from the California

  Youth Authority, Niu was arrested for possession of a controlled

  substance for sale and was sentenced to 6 months of imprisonment.

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             Before his arrest, Niu had a number of plumbing and

  groundskeeper jobs.     While incarcerated, he earned his GED and

  took numerous educational courses, including an anger management

  course.   See ECF No. 269-5, PageID #s 995-96.        Niu is enrolled in

  the Residential Drug Alcohol Program and is the “Head Senior

  Guide of the mentorship in the program.”         ECF No. 277-1, PageID

  # 1293.   The record does not indicate whether that program is

  ongoing or has been suspended during the pandemic.          Assuming Niu

  successfully completes the Residential Drug Alcohol Program and

  consequently becomes eligible to spend the end of his prison

  sentence in a halfway house, he might be out of a prison setting

  even before his May 2022 projected release date.          That is, even

  if the present motion were denied, he might not have much more

  time at FCI Lompoc.

             Niu has not consistently been a model inmate.          Niu’s

  most recent discipline was in August 2019 for possessing a

  cellular telephone and cash.       See ECF No. 269-6, PageID # 999.

  Before that, he was disciplined in 2015 for giving/accepting

  money without authorization.       Id., PageID # 1000.     He was also

  disciplined in 2012 for fighting, his only violent infraction in

  prison.   In 2009, he was disciplined for sleeping during a “fog

  count,” and in 2008 for conducting business without

  authorization.    Id.

             The court notes that the Judgment in this case requires


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  Niu to participate in substance abuse treatment (including drug

  and alcohol testing), which is reassuring to this court.            See ECF

  No. 202, PageID # 618.      Also reassuring to this court is the 5-

  year supervised release period Niu faces.         If Niu reoffends

  during that period, the court will be able to react appropriately

  to protect the public.

             Niu says that, if released, he plans to live with his

  mother and son in California.       He says that his mother has

  dementia and that he would take care of her.         He says that his

  son has been employed by an airline for the last three years.

  See ECF No., 269, PageID # 985.       Given the pandemic, Niu’s son’s

  continued employment may be in jeopardy, but this court will not

  speculate about that and instead assumes that Niu’s son will be

  able to support Niu financially if Niu is released.

             Like many of the other compassionate release requests

  this court has received during the COVID-19 pandemic, this court

  considers this to be a difficult case.        Under § 3582(c)(1)(A),

  only extraordinary and compelling reasons can justify a reduction

  in an inmate’s sentence.      Niu’s medical conditions and positive

  COVID-19 test are particularly worrisome.         Among other things, he

  has heart disease and kidney disease, and weighs over 300 pounds.

  He has a relatively short time remaining in prison, particularly

  if he were to complete the residential substance abuse treatment

  program and be released by the prison to a halfway house toward


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  the end of his prison sentence.       The record includes some

  instances of violent behavior: some possible involvement in a

  murder when he was 15, threats Niu made to “take care of” people

  who cooperated with law enforcement, and fighting in prison 8

  years ago.    Putting all these circumstances together, and giving

  great weight to Niu’s heart disease, this court concludes that it

  has an extraordinary and compelling reason to reduce Niu’s

  sentence under § 3582(c)(1)(A) and that release would be

  consistent with Sentencing Commission policy statements.

  III.         CONCLUSION.

               Niu’s request for compassionate release under 18 U.S.C.

  § 3582(c)(1)(A) is granted.

               Niu’s sentence is reduced to time served plus 3 days.

  (In other cases not involving movants who have contracted COVID-

  19, this court has reduced sentences to time served plus 15

  days.) The 3-day period is intended to allow his family to make

  arrangements to transport him home from FCI Lompoc and to remove

  any guns from the residence.       Following the 3 days, Niu shall be

  released to begin his term of supervised release.

               Niu faces a 5-year term of supervised release, and that

  term is substantial enough that the court orders no supplemental

  period of supervised release.

               Niu must go directly from FCI Lompoc to his mother’s

  residence.    That is, Niu must travel from FCI Lompoc to his


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  mother’s home without stops, except as may be absolutely

  necessary.

               Niu shall abide by all of the standard, mandatory, and

  special conditions of supervised release previously imposed,

  including the ban on firearms.       In addition, Niu must abide by

  the following additional special conditions:

               4. You will be monitored by radio frequency
               technology for a period of 180 days, and you
               must follow the rules and regulations of the
               location monitoring program, pursuant to the
               Participant’s Agreement. You are restricted
               to your residence at all times except for
               employment; education; religious services;
               medical, substance abuse, or mental health
               treatment; attorney visits; court
               appearances; court-ordered obligations; or
               other activities as pre-approved by the
               probation officer. You shall earn leave as
               determined by the probation officer. You
               must pay the costs of the program, as
               directed by the probation officer.

               It is further ordered that, immediately upon his

  release from BOP custody, Niu report by telephone (808-541-1283)

  to Timothy Jenkins of the United States Probation Office,

  District of Hawaii, providing him with his address and any other

  information needed.     Mr. Jenkins’s office will be contacting the

  appropriate United States Probation Office concerning supervision

  of Niu.




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               It is so ordered.

               DATED: Honolulu, Hawaii, October 19, 2020.



                                          /s/ Susan Oki Mollway
                                          Susan Oki Mollway
                                          United States District Judge




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  NIU’S MOTION FOR COMPASSIONATE RELEASE




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